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UNITED STATES DISTRICT COURT F] L E D

EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION MAR 2 4 2005
U.S. BISTAICT COURT

UNITED STATES OF AMERICA, BAY CITY, MICHIGAN

Plaintiff, OS-7OEHO
D-1 AHMAD MUSA JEBRIL
D-2 MUSA ABDALLAH JEBRIL,

Defendants.

i

ASSISTANT U.S. ATTORNEY ORLANS ASSOCIATES, P.C.
Julia C. Pidgeon (Penna Bar #37949) Susan C, Myers (P49740)
Attorney for Plaintilf Attorney for EMC Mortgage Corporation
211 W. Fort Street P.O, Box 5041
Suite 2300 Troy, MI 48007
Detroit, MI 48226-3211 (248) 457-1060 ext. 222
(313) 226-9772

EMC MORTGAGE CORPORATION'S C INTEREST
RE: 4702 PALMER, DEARBORN, MI

   

NOW COMES EMC MORTGAGE CORPORATION by and through its attorncys, ORLANS
ASSOCIATES, P.C., and for its Claim of Interest Re; 4702 Palmer, Dearborn, MT states as follows:

1, On October 31, 1997, Abdullatic Alhusscin cxccuted a mortgage in favor of Long Beach
Mortgage Company that was recorded in the Wayne County Register of Deeds in Liber 29793, Page 701
for property located at 4702 Palmer, Dearborn, MI and more particularly described as:

Lot 289, Schaeffer Heights Subdivision, as recorded in Liber 32, Page 82
of Plats, Wayne County Records.

Tax# 82-09-134-06-027
More commonly known as 4702 Palmer, Dearborn, M1

2. On February 6, 2004, Long Beach Mortgage Company assigned all of its right, title and
interest in the mortgage to JP Morgan Chase Bank f/k/a ‘The Chase Manhattan Bank successor by

' merger to Chase bank of Texas, N.A. (/k/a Texas Commerce Bank, N,A, as Trustee and Custodian by

 

 

 

 
 

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Saxon Mortgage Scrvices, Inc., {/k/a Merilech Mortgage Services, Inc., its Allomey-in-fact (“JP Morgan
Chase Bank"). An Assignment of Mortgage was recorded with the Wayne County Register of Deeds in
Liber 40132, Page 408,

3. Albussein defaulted on hia mortgage and JP Morgan Chase Bank commenced foreclosure
by advertisement proceedings.

4, On April 15, 2004, the Sherift’s sule was held withy hb Morgan Chase Bank being the
highest bidder at the public auction.

5. On May 17, 2004, JP Morgan Chase Bank executed a Quit Claim Deed transferring all
Tight, title and interest it held in the above-described property to EMC Mortgage Corporation. The Deed
was recorded with the Wayne County Register of Deeds in Liber 40701, Page 826.

6. The redemption period expired with Athussein failing to redccm the property. Therefore,
EMC Mortgage Corporation's interest in the property fully vested.

7. EMC Mortgage Corporation is the tileholder to the above-described real property and
claims an interest in ihe criminal forfeiture action brought by the Plaintiff.

Respectfully Submitted:

ORLANS ASSOCTATES, P.C.

  
     

ian C, Myers
Attorney for EMC M
P.O. Box 5041

Troy, MI 48007
(248} 457-1000 ext, 222

igage Corporation

Dated: March 18, 2005

 

 

 

 
 

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MAYRE COUNTY, ME
Receipt 18077

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MORTGAGE

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& LONG B: MORTOAGE COMPANY
i! P.O. BOX 1450
[i SANTA‘ANA, CA NI7IE

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The mortgagor ly ABDULLATIE ALHUSSEIN , 4 Finale. MAN

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6129 FAUST STREET DETROIT, MI 44229 .
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and whose address ts 1100 TOWN & COUNTRY ROAD ORANGE, CA 92868
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modifications of the Note: (b} the paymea of al) ether sums, with interest, sdvenced under paragraph 7 1p
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Liter-29793 = Paga-702.4

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County, Micnigan:
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lor 299, SBNOVER URIGHTS SUBDIVISION, am tecorad in Liher 32, Page 52
of Plats, Mayra County Rerords,

tax 2.0, #8209-134-05-~-047

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Liber~29793 Page-704.0

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17. Tronsfer of the broptrty or » Renefictal Interest in Borrower. if oli or Any par of the Pronerty or
any fnvercat in it is subd of itamferted (or if a beneficial inierest in Borcowey is sold er tennaterred ond
Borrower i AOL A Aatwéal PoMion) wikhout Lender's prior wriltes consent, Lendar may, al ils option, require
{ommediine payinent » full of adi sums secuerd by Wit Seyyrity thelrument. However, ibis option wall nos be
eremised by Lender (T exercise tg probibiced wy ftderal Jaw as of the date of thle Security Ireirvmen.,

it Larger aastcisea this aplion, Lender shall give Botrower notice of acceleration. The novice shall
prove & perlod of wor less (hen 30 days from the date the notice ls delivered or nailed within which
ITTAweT OM oy al sume secured by this Security Insirument, [f Borrower fails to pay thete sums prior io
the expiration of (his period, Lender may Invoke any remedies permiitied by tis Seeulny lustigtgin wisi
nctice ov dersnd on Borrower. |

U8, Borrower's Right fo Reimmate, If Décrower meets cenala comuilinns, Borrower thal have che ripht

io have enforcement of this Securily Insirument discontinued at any ume price to the exter of (a) 5 days {or
auch other period as applicable law may tpeeity for reingrmiement) berore sale of the Propeny PAlnusnt to any
wer OF sale contained [4 thin Sevvichy Insirumect: or (dS entry of w judgmena enforcing qhis Security
upament. Those sorsitions are thal Borrower: (8) pays Lenders all sums which then would 64 due Lsdes this
Security instrumew amt the Note as if wu accelersian had occurred: (0) cures any default of ary ather
covenanls AF agteements; (c) pays all expenses incurred 44 enforclug ints Securhy Instrument, inélading, but
no limited tn remennahie Minrneys” fees! sed (ad iakes Cuch action as Lender nay rcosqirebly require ko assure

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PagelD.43 Filed

. -70840-GER ECF No. 12,

Case 2:05-mc-7084

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. -70840-GER ECF No. 12,

Case 2:05-mc-7084

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imo and shal) wnend and suppierncat the FOVERANLS atid agteersenis of this Security Invrument as if the rider(s)
Were & past off this Security Instrument,

{Cheek apotfeable boxer)
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Graduated Payment Rider Planned Unit Development Rito Biwoekiy Payrneni: Rider
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VA Rider Other() ispecify)

BY SIGNING HELOW, Borrowe; SStepls and agrees te the tems
Serviity Instrument and in any riders) exccuied by Feeorded with;
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STATE DF MICHIGAN, ‘AYE County a4:

The foregoing bostnynend was acknowledged besove meus Jat deyot Ottober,, 1997
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My Comrnission Exphroy, PAU. BRUNSINE uw Yas
My Commlasee, Bega Gay, ee
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LURYNE County, Mi ni

This ingcrumen Was prejared by BL Sai bh “eens

Long Beach Mortgage Oo.

1100 town eCountry Roa

rare, CA yunse
OP th 140 08 Poneto s Pom 302) srg
‘PANTRY Ae Loan No, FSA

 

 

 

 
Case 2:05-m 0840-GER ECF No PagelD.45 Filed 03/24/05 Page 10 of 16
Se 2: c-7 - No. 12, gelD. iled [24] gel
a :Qo-MC- :

AARIGNMENT OF MORTGAGE
MMSI#:10308017

FOR GOOD AND VALUAALE CONSIDERATION, the sufficiency of which is
hereby acknowledged, the undersigned,
LONG BEACH HORTGAGE COMPAnY

 

izth Fl, Houston, Tx 77002, ite successorg
c/o 4708 Mercantile Drive, Ft, Worth, TX 76137, {Asaignor),
by those presents doas CONVEY, grant, sali, assign, transfer and
set over the deacribed Mortgage together with the cértain note (s)
described therein, without Yecourse, representation OY Warranty,
together with all right, title and intezest secured thereby,
411 liens, dna any rights due or to become due thereon to
JPUORGAN E BANK FXA THE CHASE TTAN HAMK successor hy merger
to CHASE OF TEXAS, NA PKA TEXAS COMMERCE BANK, NA as Trustee
and Custodian by Saxon Mortgage Services, Inc, ?ka Maritech Mertgage
Services, Inc, its Attorney-in-#act, whoas address is 1211 Fanin
12th Fl, Holaton, Tx 77008, ita successors or assigns (Assignee) .
Said Morcgage made on 10/31/57 by
ABDULLATTIE |ALHUSSEIN
to Wort gape
and recerded in office of the Register of Beads of WAYNE 5
County, MicHigan, in Book 29793 , page yo; Doct 9805359L3 tm O23 7-199
pon the prdperty situated inp Said State and County, ta wit:
SEB EXHIBIT ‘a: ATTACHED
a8 4702 PALMER
DEARBORN, Mf 48126

 

 

 

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Witness Stew Sivor, Vick Prasigont Witness

STATE OF teas COUNTY OF  tasnase

On 02/06/04 | before me Appeared Twa Garter, vice Presidest

to me personally known, who being by me duly sworn, did gay that
he/she ia the/an View Prastdent

of  Saxan Morte 9 Ine

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Venfte Mettson
Residing in
Dosament Prepared
T.Temple/NTC,2100
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went was signed on behalf of said corporation,

         
 
 
 
  

 

 

Notary Public
VANITA SATTRON

Motery Pubbe. State ef Teas

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he county of

  

1L19N., Pstm Harbor, FL 36693
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Case 2:05-mc-70840-GER ECF No. 12, PagelD.46 Filed 03/24/05 Page 11 of 16

 

 

WAYNE - Coutiy, Michigan:
VES ALBEE UPTO. AIK CHLELY MERE AATAM ATE L ccber a» *

LOP 289, SCHAEPTER HELQSS SuatIvisnvow.
a. as recowed ip Liber 32, Page 82

tax i.d. £62-09-134-06-027

wich has the address of 4702 PALMER DEARBORN (Street. City],
Mikkigan 48126 Pip Cody ("Property Address”;

 

 

 

 

 
 

Case 2:05-mc-70840-GER ECF No. 12, PagelD.47 Filed 03/24/05 Page 12 of 16

IAPR § 9 2004 1000W509 Sri15 Tha jm on
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THIS INDENTURE made the 15th day of April, 2004 betweep

Couny, Mishizan, party of the firt part, end JPMORGAN CHASE BAN i CRASE MANHATTAN BANK
SUCCESSOR BY MERGER TO Cllace DANKE OF TEXAS, NATIONAL ASBOCIATION, F/K/A TEXAS COMMERCE DANK,

SERVICES , 2 MacArthur 909 Hidden Ridge Drive, irving, TX, 75038, party of the svocad pact (bercinafter called the grantee).

Witnessedh, that whereas, Abdullati Albunpein, A Single Man whose address is PO BOX 1109, Taylor, M1 49190, made a certain
nidxtgage to Long Beach Mortgage Company (hereinafter called “Mottgapee"), whlch was duly rooorded iu the office of the Register
of Doeds of Wayns County in Liber 29793, Page 701, Wayns County Reoorda. Sald morgage it now held by JPMoeean Chase Dack
Hk/a The Chase Manhattan Bank spocesor by merger to Chae Bank of Toxas, National Ascoctatlon, fYk/a Texas Commerce Bunk,
NA. ab Trumtoe end Custodian By: Saxon Mortgage Services Inc, fk’ Meritéeh Mortgnge Sarviceeby assignment submiltied to and
vecorded by the Wayne County Register of Deeds... .

WHEREAS, said mortgaye conralned a Power of sale which bas become operative by season of dedanlz in the ionmy asd conditions
of tha morytge: tnd

WHERBAS, no suit or proceeding af law or in equity haa boen instituted to negever the debt secured by the mortgage oc any part
thezcof: and

WHEREAS, by virtue of the power of vale, and purpuait! to dhe statules of the State of Michigan in such cage made and provided, a
notice was duly publizhed and a copy thereof was duly potted in a souspicuous place upow the Dreniises desorlbed in the mortgage that
ihe premises, oF sens part of them, would be sold on the 25th day of March, 2004*, at the teffetion Avenuy entrance to the Coleman
4. Young Munloipal Center in Datraig, that being the place of holding the Circuit Court for ‘Wayne Couaty wherein the premises ate
located: and

WHEREAS, pursuant w said notice Tdid, af 1:00 pam, lors) tine, an the date wtated above, sxpore for sale at public venue the ssid
lands and tenements described below, and on such sale Add atrike off and dell the said lands and tenements to the grates for the sux of

2 #& 52/100 Dollars ($86,265.82) thal being the bigheat bid therefore and the grantee
belng the highest bidder; and

WHEREAS, said lnnds avd tenements are situayed in the City of Dearborn, Wayne Coanty, Michigan, and are maze Pactowlerty
described as:

TONIM POOTTeUNOA “fF PusuueE HpOZ~NE-+9, ZeDTezreZ b-Sd  22e0-17

Lot 289, Sehaalter Heights Subdivision, as recorded in Liber 32, Page $2 of Plats, Wayne County Records.

Turk $2-09-134-16037
More conzoonly koown as 4702 Painwr,

Now, dls indenture Witnesseth, chat I, the Deputy Bheorif aforesaid, by vistuc of and Pursuatit fo the statute in such case made and
Provided, and in consideration of the sum of maney so paid as aforesaid, have granted, osaveywd, bargained and sold, and by this deed
do gtint, convey, bargain, and scl unto the GruUtee, ita muccestor: end aspigos, FOREVER, all the existe, right, ttle, and interest
which the said Mortgagor(a) had in said bend end tecomeals and cvery part thereof on 3)g0 day of October, 1997, that being the date
Of sald mortgage, at any tie thereafter, to have and to hotd ibe sald landgrund tenement and every part the Rr aid prantee, its
succeaeory and assigas forever, to (heir sole and only wie, bast p he Deputy Sheriff
aforesaid, under the authority aforesaid, might, could, ar ough
In witness whereof J have eet my hard and geal.

   
 

         
 
 

 

STATE OF MICHIGAN,
COUNTY OF WAYNE

This Sheclif's Doad on Mortgage date was acknowledged before me this 15th day of April, 2004, by
Mocabun Brooks » Depaly Sheriff fur Wayne County, Michigan,

County Revaniug Required,
— Exempt from Stata Reel Estate Transtar Tax
Tublic pursuant to MCLA §207 628(u)
RALPH LeBaa

iT
Wayne County, Michigan Nolsty Pubite, Woy an
My commission expima: © Gernumisston ee Te UozONe
Miter from March 25, 2004 to April 15, 2004 by posting « notice of aijourciment at the pluce af sale Sor Wayne County,

Flla Number: 198.1504 Loan Type: CONV ist

BAL iS GR SPP. CW) FASIAG .
ee,

 

 

 

 

 
 

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Case 2:05-mc-70840-GER ECF No. 12, PagelD.48 Filed 03/24/05 Page 13 of 1

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5
NON-MILITARY ARFIDAVIT v
State of Michigan )
ss. a
County of Oakland)

The undersigned, being first duly swam, slates thet upan investigation he is informed and believes that none of the
persons named itt the notice atlached to the sheriff's deed of mortgage forecloms, nor ANY perton upon whom they or atry

of them were dependent, were in the Mulitary dervice of the United Siates a} ile time of sale or for six months pelor
; Dor the present pranive(s),

The undernigned further staics that this affidavit is made for the purpose of Peeterving w record and clearing title
by virtue of the Soldiers" and Sailors’ Rellef Act oF (940, a5 amended.

  

Oakland County, Michigan
My Commission Bxpires: 01/04/2006

File Name: Abollatie Alhussein

AFFIDAVIT OF AUCTIONEER and
CERTIFICATE OF REDEMPTION PeRion
Ste of Michigan
County of Wayne
Marsnun Brooks Nat duly sworn, depcasa and says that heis a

Deputy Seni of said Wayia County; that halthe acted as Aligionger, and made ita sale as
described in the Bnnasd Dead pursuant to Ihe anaaxed prinied Nédow that ead sala wap
opened at 1:00 pum., local titra, On the 18th Say of Apri, 2004, Jefferson Avenue entance fp

ethan A. Young Musticipee Canter in Delrvit, that balng the placa of holding the Cirauit
Gourt for Wayne County, and sald sais was heptopen for iby spec of one hour; tet the
highest bid for Ihe lands and teiemeants therwn deperbed was

i Oy JPMorgan Ghase Bank

fWa Tha Chase Marbadtan Bank syccanagy by Megat 69 Chase Bank of Taxas, Nalonal
Association, fis Taxes Commergy Bank, N.A as Trustes and Custodian By: Saxon Morigage
Services Inc. five Martech Motigaga Services , that oid sate was Ja a reapects open and fair:
ard that he/she did ska off and sat sald lands and jenements tn said bidders, which
purchased the wud lands and tenements fairly, and in good fat, a5 daponent vorily believes,

[D0 HERERY CERTIFY inet lhe within Shorts Deed will become oparstive at the axpiration of
Ementha trom the data of wale, unless determined abandoned ld accontance with MCLA
§600.32412, in which cosa the Cedar ptlen paplod a be 20 days from the data of sale, unless
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Ms

       

 

 
 

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: . oo . APPIDAUIT OF PUBLIGHEE
‘ Hn aL of Michigan) a . . - oO
LEASE COAST OEE County of Wayie)”
ACN ME TAY BUCTY Tha undersigned, being fia) duly sworn depones and saye that a natlos, a tue copy of

Detaull has bean made in tha end which Is annexed .hacelo, wag published in The Detroit Lagat News, a newspaper °
ann 23, March 1,8, 15, 22,

     
 
  
 
 
 

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THE ALHUBEEM Sols Men ts Ling Prd and cireuiatedt in gal Stata and County on tha Hebrus
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Fabruary 37, 1708 in Uber 2870q, * “oH a Brad:
701, Wayno Gounty Record. Said, . esa |. Rodgers
marigage ecw he SPMORGAN Subsoribed and swarri to before me this 22nd day af March,
CHASE BANK itu The Manhat: " . '
un pee aezcenear Y ‘era to Chase

exat, onal Aggoctall 1.
mda Tacae Commarea Bank, NA, o Dawn M, Keith, Notary Publ
Trustee and Custodian By: 6dxan Mort: i i
bon 2 nes Wie ay Bh Oakland County, Michigan
gage sent ty anegernent autenitiog My Commission Expires: Dec, 18, 2007
6 aed recorded by 9 Hayne Counly Auting in Wayne County, Michigan
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io a OF BUCK Moriges. um

1 AFFIDAVIT OF POSTING

EKHTY-FOUR THOUSAND ONE HUN- .
BAeg ty mes BOL: STATE OF MICHIGAN

HORS 1st  eking nuarest at COUNTY OF Wayne 33,

Under thirFower of mae contained by Y@ry Williams, being duty EWOM, deposaa and gays that on the 26th day of Fabruary.
Ihe mongage asd the stains of tw A.D., 2004, he posted @ Netlog, @ hue cory of which Ie annexed hereto, it a consple-
an Michipan, nolee is hereby gi Lous placa upon the premisas described in said Notlea by attaching the same in a secure

te atthe mataced pee wee manner to the lett sida of door.
Parl of nam, sf publ vera at the vet .
heceon Avenue ghitranca ta #19 Coleman
&. Young Murioloal Centar in Detroit in
Wayne County, Wichigan at 1:00 pm. pn

MARCH 98, 2004, Subscribed and swom to before m6
The pramiaas ary located In the Gay #4

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De

cndmcecae rt Miner, and . —,__Dabarah L. Blick, Notary Public
Lat 2, Bchearer sae Snsininy Wayne County, Michigan
45 reconied in Liner .
Flaun Womyne Gouray Rests My Commission Explras: Nov. 19, 2007

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Sala inthe rotane ole aa ature (248) 457-1000
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Dew¢ Fabruary 23, 204
OFLANS ASGOULATHE PO

Attomoys lor UPMungan Crave Bank
Wa

The Chass Manhatran Rank suscessor

by merger 0 Chase Bank of Tmgu, Nes

Banal Asencivtoniva Texas Contessa

Bank, N.A, an Yrumes 899 CUsiotiien By;

Stegn Morhgago Sarveas Inc, He's Mer

Asc) Marigage Syrdows , As Atpigned

#0. Bax’'5047

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(248) 457-1000 Tv .

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D336427 1 MAY 2 7 200

Li-¢07a1 Pa-826
ROGZILIIO §«—-|527/ 2004
Barnard J. Younsbload
Wavne Co. Rewister of Deeds

Amua3y aWL- ZWD

QUIT CLAIM DEED

THIS QUIT CLAIM DEED, Rxecuted this _ fan dayol / 7 2008f
~.

by firtt party, Grantor, JPMorgan Chase Bank f/k/a The Chase Manhattan Bank successor by merger to Chase Bank
of Texas, National Association, iva ‘Texay Commerce Bank, NA, an Truster and Custodian By: Saxon Mortgage
Servicos Inc. Ava Meritech Mortgage Servites.

Whose address is 2 MacArthur, Irving, TX 75038

to second parr, Grantee, FMC MORTOAGE CORPORATION
whose address is 2 MacArthur 909 Hidden Ridge Delve Suite 200, Jeving, TX 2403"

WITNESSETH, That the saad Gest party, for good consideration and for the sum of One
Dollar ($1.00) pald tyy the auld sscond party, thu receipt whereof is hecaby acknowledged, doca hereby remiac,

Lot 289, Schacter Height Subdivision, as recorded in Liber 32, Page $2 of Plats, Wayne County Kecords.
Tax §D; §2-09.134-6027
Commonly known a4: 4702 Palmer

Exempt fram revenue siamps pursuant to MCLA 207.585(a) and 207.526(a)

TN WITNESS WHEREOF, The said first party has signed and scaled those presents the day and year first above
written. Signed sealed and delivered ia the prcsence of;

JPMorgan Chase Bank Ok/a The Chase
Manhatten Bank successor by merger ty Chase Bank of Texas,
National Association, fk/a Texae-Commerce Bank, NA. a5
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Association, (h/a Texas Commence Bank, N.A. ag Trustee and Cusrodien Ry! Saxon Mortgage Services Inc. ikta

DRAFTED BY & RETURN RECORDED TO:
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P.O. Bon $047

“Te xas.couny, Dallas Troy. MI 49007
My commission expires: = 4 (243) 457.1000

 

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File No. 199.1501

 

 

 

 

 

 

 

 

 
 

 

Case 2:05-mc-70840-GER ECF No. 12, PagelD.51 Filed 03/24/05 Page 16 of 16

 

FILED

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN MAR 2 4 2005
SOUTHERN DIVISION
U.S. DISTRICT COURT
BAY CITY, MICHIGAN
UNITED STATES OF AMERICA,
Plaintiff,
“VS- Criminal No: 03-80810

Hon. Robert Cleland
D-1 AHMAD MUSA JEBRIL
D-2 MUSA ABDALLAH JEBRIL,

 

Defendants.
}

ASSISTANT U.S. ATTORNEY ORLANS ASSOCIATES, F.C,
Julia C. Pidgeon (Penna Bar #37949) Susan C, Myers (P49740)
Attorney for Plaintiff Attormey for EMC Mortgage Corporetion
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Suite 2300 Troy, MI 48007
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(313) 226-9772

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PROOF OF SERVICE

The undersigned certifies that a copy of Defendant EMC Mortgage Corporation’s Claim of
Interest Re: 4702 Palmer, Dearborn and this Proof of Service were served upon the attorneys of
record of all parties to the above action by mailing the same to thent at their respective addresses as
disclosed by the pleadings of record herein, with first-class postage fully prepaid thereon, on March
21, 2005, ut Troy, Michigan,

I declare under the penalty of perjury that the above statement is trus to the best of my

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information, knowledge and belief

     

 

 

 
